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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re
                                                                     Chapter 11

    Lordstown Motors Corp., et al.,1                                 Case No. 23-10831 (MFW)

                                                                     (Jointly Administered)
                                               Debtors.
                                                                     Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)
                                                                     Hearing Date: March 14, 2024 at 3:00 p.m. (ET)



             COVER SHEETS FOR SECOND INTERIM APPLICATION OF
        BAKER & HOSTETLER LLP FOR ALLOWANCE OF COMPENSATION AND
             REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
             OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

      Name of Applicant:                                                                      Baker & Hostetler LLP

      Authorized to Provide Professional Services to:                          Debtors and Debtors in Possession

      Date of Retention:                                                                     Effective June 27, 2023

      Period for Which Compensation and                                    October 1, 2023 – December 31, 2023
      Reimbursement Are Requested:

      Total Amount of Compensation (100%):                                                                  $264,801.65

      Amount of Compensation Requested by Prior                                                             $211,841.32
      Monthly Fee Applications (80%):

      Amount of Compensation Held Back from Prior                                                             $52,960.33
      Monthly Fee Applications (20%):

      Total Amount of Expense Reimbursement:                                                                   $3,018.81

      Aggregate Amount of Compensation and                                                                  $267,820.46
      Expense Reimbursement

This is an interim fee application.


1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
      Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
      Ct., Farmington Hills, MI 48331.


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                                           MONTHLY FEE APPLICATIONS FILED

   (1)          (2)           (3)               (4)      (5)               (6)           (7)          (8)       (9)       (10)
                                                            Approved                                           Total Approved
                                    Requested                                              Holdback
                                                         On Monthly Basis                                     By Interim Order
  Date;       Period
                             Fees          Expenses      Fees            Expenses        Fees      Expenses   Fees     Expenses
   D.I.      Covered
12/18/2023 10/01/2023 –
 D.I. 836   10/31/2023
                          $106,814.75     $2,980.43   $85,451.80        $2,980.43     $21,362.95     $0.00    TBD        TBD
01/22/2024 11/01/2023 –
 D.I. 928   11/30/2023
                          $83,544.75        $0.00     $66,835.80          $0.00       $16,708.95     $0.00    TBD        TBD
02/13/2024 12/01/2023 –
 D.I. 970   12/31/2023
                          $74,442.15        $38.38      TBD               TDB           TBD           TBD     TBD        TBD




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                         SUMMARY OF TOTAL FEES AND HOURS
                        BY ATTORNEYS AND PARAPROFESSIONALS

                        Date of Bar                                 Hourly       Total            Total
                                         Position with the
 Name of Professional   Admission                                    Billing     Billed    Compensation
                                            Applicant
                                                                       Rate      Hours
Susan L. Atkinson                     Paralegal                      260.00         3.8         1,007.00
Cory N. Barnes          11/13/2018    Associate                      450.00           .4          180.00
Erica Barrow Clark      12/03/2013    Associate                      970.00         2.3         2,231.00
David H. Brown          06/27/2021    Associate                      610.00        14.8         9,028.00
Orga Cadet              06/27/2018    Associate                      760.00         3.4         2,584.00
Suzanne K. Hanselman    11/18/1991    Partner                        805.00           .3          241.50
Scott C. Holbrook       11/20/2000    Partner                        690.00        14.9         10,281.0
Daniel M. Kavouras      11/05/2012    Partner                        565.00         3.2         1,808.00
Thomas R. Lucchesi      10/29/1984    Partner                        920.00         3.5         3,220.22
Melissa B. Mannino      05/05/1996    Partner                      1,020.00           .6          612.00
Michael H. McDonald                   Litigation Project Mgr.        310.00           .5          155.00
Brian M. Murray         11/08/1999    Partner                        685.00         9.2         6,302.00
Anthony B. Ponikvar     11/07/2016    Associate                      500.00        38.2        19,100.00
Scott E. Prince         11/07/2016    Associate                      500.00         1.5           750.00
Jamie S. Reiner         11/16/2023    Associate                      445.00         1.5           667.50
Sabrina L. Shadi        12/06/1999    Partner                        790.00         3.1         2,449.00
Douglas L. Shively      01/11/2016    Partner                        555.00         1.0           555.00
Janet A. Spreen         05/16/2005    Partner                        780.00       196.9       153,582.00
Brittany E. Stevenson   12/14/2020    Associate                      400.00        83.4        33,360.00
Sarah M. Szalay                       Paralegal                      260.00         1.2            312.0
Michael A. VanNiel      11/13/2001    Partner                        790.00        34.9        27,571.00
Jeffrey R. Vlasek       11/05/2007    Partner                        555.00        35.3        19,672.50

TOTAL INCURRED                                                                    453.9       295,668.50
LESS DISCOUNTS                                                                                -30,866.85
TOTAL AMOUNT                                                                      453.9       264,801.65
                                                                          Blended Rate:           583.39




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       STATEMENT OF FEES AND EXPENSES BY PROJECT CATEGORY

Task                                                             Total           Total
Code    Category Description                                     Hours           Fees
B100    Administration                                              11.8         6,944.00
B110    Case Administrtion                                          14.7        11,973.00
B160    Fee – Employment Applications                               11.7         8,172.00
B190    Other Contested Matters                                      7.5         5,925.00
B200    Operations                                                  26.3        20,545.00
B210    Business Operations                                         46.5        27,579.50
B460    Securities Matters                                         271.9       177,874.00
B470    Karma Automotive LLC v. Client, et al.                      60.3        34,564.00
B510    General Benefit Matters                                      3.2         2,192.00

                                                       Totals       453.9      295,668.50
                                               Less Discounts                  -30,866.85
                                                       Totals       453.9      264,801.65




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                    EXPENSE SUMMARY


                Expense Category                    Amount
    Delivery Services                                  105.85
    Miscellaneous                                      225.46
    Printing                                          2,687.50
    Total:                                           $3,018.81
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re
                                                                  Chapter 11

    Lordstown Motors Corp., et al.,1                              Case No. 23-10831 (MFW)

                                                                  (Jointly Administered)
                                               Debtors.
                                                                  Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)
                                                                  Hearing Date: March 14, 2024 at 3:00 p.m. (ET)



                     SECOND INTERIM APPLICATION OF
        BAKER & HOSTETLER LLP FOR ALLOWANCE OF COMPENSATION AND
             REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
             OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

            In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No.

181] (the “Interim Compensation Procedures”), Baker & Hostetler LLP (“B&H”), special

litigation and corporate attorneys for the debtors and the debtors in possession (collectively, the

“Debtors”) in the above-captioned chapter 11 case, hereby files this second interim application

(this “Application”) for the period from October 1, 2023 to and including December 31, 2023 (the

“Application Period”) requesting (a) interim allowance and payment of $267,820.46, consisting

of (i) compensation for professional services to the Debtors in the amount of $264,801.65,

representing 100% of the fees earned by B&H for professional services to the Debtors during the

Application Period, and (ii) reimbursement of 100% of the actual and necessary expenses incurred

by B&H during the Application Period in connection with such services in the amount of



1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
      Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
      Ct., Farmington Hills, MI 48331.
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$3,018.81, without prejudice to B&H’s right to seek additional compensation for services

performed and expenses incurred during the Application Period, if any, which were not processed

at the time of this Application, and (ii) grant such other and further relief as is just and proper.

        Specifically, B&H requests that the Court award interim allowance of the compensation

and reimbursement expenses that were the subject of the following Monthly Fee Applications (as

defined below) that covered the Application Period.

        On December 18, 2023, B&H filed its fourth monthly fee application (the “Fourth

Monthly Fee Application”) for the period from October 1, 2023 to October 31, 2023 [Docket No.

836].   Pursuant to the Interim Compensation Procedures, B&H has been paid $88,432.23,

representing $85,451.80 (80% of the $106,814.75 of fees earned) and $2,980.43 in expenses, and

$21,362.95 in fees have been held back.

        On January 22, 2024, B&H filed its fifth monthly fee application (the “Fifth Monthly Fee

Application”) for the period of November 1, 2023 to November 30, 2023 [Docket No. 928].

Pursuant to the Interim Compensation Procedures, B&H has not been paid $66,835.80,

representing $66,835.80 (80% of the $83,544.75 of fees earned) and $0.00 in expenses, and

$16,708.95 in fees will have been held back.

        On February 13, 2024, B&H filed its sixth monthly fee application (the “Sixth Monthly

Fee Application,” and together with the Fourth Monthly Fee Application and the Fifth Monthly

Fee Application, the “Monthly Fee Applications”) for the period of December 1, 2023 to

December 31, 2023 [Docket No. 970]. While the objection period for the Sixth Monthly Fee

Application under the Interim Compensation Procedures has not yet passed, should no objection

be made, then B&H would be paid $59,592.10, representing $59,553.72 (80% of the $74,442.15

of fees earned) and $38.38 in expenses, and $14,888.43 in fees will have been held back.
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        As set forth in the Monthly Fee Applications, the compensation and reimbursement

expenses that were the subject of the Monthly Fee Applications reflected voluntary reductions

made by B&H before filing of, in the aggregate, $30,866.85 in fees.

        Exhibits A and B attached hereto contain certain schedules pursuant to the Appendix B

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”).2

        In addition, B&H states as follows in response to the questions set forth in paragraph C.5

of the U.S. Trustee Guidelines:

    1. Did you agree to any variations from, or alternatives to, your standard or customary billing
       rates, fees or terms for services pertaining to this engagement that were provided during
       the Application Period? If so, please explain.

             a. As described more fully in the application to retain B&H ([Docket No. 199],
                B&H agreed to a variety of courtesy and other discounts from its standard or
                customary billing rates, fees, and terms for services pertaining to this
                engagement. The amounts requested in this Application reflect the discounts
                to which B&H agreed.

    2. If the fees sought in this Application as compared to the fees budgeted for the time period
       covered by this Application are higher by 10% or more, did you discuss the reasons for the
       variation with the client?

             a. The reasons for the variation were discussed with and approved by the client
                in light of the substantial discounts to fees provided to the client, which inure
                to the estate’s benefit.

    3. Have any of the professionals included in this Application varied their hourly rate based
       on the geographic location of the bankruptcy case?

             a. The professionals included in this Application did not vary their hourly rate
                based on the geographic location of the bankruptcy case.

    4. Does the Application include time or fees related to reviewing or revising time records or
       preparing, reviewing, or revising invoices? (This is limited to work involved in preparing
       and editing billing records that would not be compensable outside of bankruptcy and does




2   Details of B&H’s fees and expenses for the Application Period are attached as exhibits to B&H’s Monthly Fee Applications.
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   not include reasonable fees for preparing a fee application.) If so, please quantify by hours
   and fees.

       a. Yes. This Application includes time and fees related to reviewing or revising
          time records or preparing, reviewing or revising invoices in connection with
          the preparation of B&H’s Monthly Fee Applications relating to the
          Application Period. B&H is seeking compensation for approximately $4,977
          in fees with respect to reviewing and revising time records to prepare such
          Monthly Fee Applications.

5. Does this Application include time or fees for reviewing time records to redact any
   privileged or other confidential information? If so, please quantify by hours and fees.

       a. No.

6. If the Application includes any rate increases since retention:

       a. Did your client review and approve those rate increases in advance?

                i. N/A.

       b. Did your client agree when retaining the law firm to accept all future rate increases?
          If not, did you inform your client that they need not agree to modified rates or terms
          in order to have you continue the representation, consistent with ABA Formal
          Ethics Opinion 11-458?

                i. N/A.



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Dated: February 14, 2024            BAKER & HOSTETLER LLP

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                                    Special Litigation and Corporate Counsel
                                    to the Debtors
